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Page 1
USCG/MMS BOARD OF INVESTIGATION
INTO THE MARINE CASUALTY, EXPLOSION, FIRE,

POLLUTION AND SINKING
OF MOBTLE OFFSHORE DRILLING UNIT

eb TS DENT RENTER RN

DEEPWATER HORIZON, WITH LOSS OF LIFE
IN THE GULF OF MEXICO, 21-22 APRIL 20190

THURSDAY, MAY 27, 2010

A.M. SESSION

ASN DOR RATE AEA MELAS LS UES EAR ER

The Transcript of the Joint United
States Coast Guard/Minerals Management
Service Investigation of the above entitled
cause before CATHY RENER’ POWBLL, a
certified court reporter authorized to
administer oaths of witnesses pursuant to
Section 961.1 of Title 13 of the Louisiana
Revised Statute of 1950, as amended,

reported at the Radisson Hotel, 2150

eke CTE

Veterans Memorial Boulevard, Kenner,
Louisiana 70062, on Thursday, May 27, 2610,

beginning at 8:00 a.m.

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1 everything, you know. I am over the entire i Q. And all ofthese are potential :

2 rig along with the captain. 2 problems that could lead to later problems ;

3 Q. Prior to becoming an OIM, did you 3 in the well?

4 have any previous oil and gas experience? 4 A. Well, | wouldn't say that, you fe

5 A. Yes, I did. 5 know. ;

4 @. Can you elaborate. 6 Q. Okay. Can you briefly go through {

7 A. J was toolpusher, driller, derrick 7 the day of the 20th and up to the time of 5

8 hand, floorhand, ail the way down. 8 the incident?

9 Q. All with Transocean? 9 A. Yes. We had run a casing the day 5

10 A. Not all. I have been working with 10 before, a string of 9 and 7/8ths by 7 inch, :

11 Transocean since 1979. I worked for two 11 and cemented and were actually pulling out :
.12 other companies prior to. 12. of the hole to go and displace and run a top :

13 Q. How long have you been assigned to 13 plug. We did have a lot of visitors come :
14 the DEEPWATER HORIZON? 14 out that day, BP and Transocean. Spent the ;

15 A, January 22, 2004, it will be a 15 bigger part of the day, you know, talking
16 little over six years, six and a half. 16 with them. :

YL? Not all of it. 17 Q. And after that discussion, up to ;
18  Q. Atthe time of the incident, how 18 the incident? :
19 Jong were you on your hitch? 19 A. Up to the incident, I got out ofa kK
20 A. Thad been out a little over two 20 meeting roughly, i would say, at 2115, and i
21 weeks. I had six days remaining on a 21-day 21 got through with the meeting. [ went to the
22 hitch. 22 bridge, central control room and looked at i
23 Q. At any time during the duration of 23 permits, closed out permits and talked with :
24 the well, were you made aware of any 24 the senior toolpusher.
25 specific drilling problems such as lost 25 Then later on, I got -- went and :

Page 7 Page $f

1 returns, stuck pipe, cement in the casing, 1 took a shower about the time of the 3

2 any other issues? 2 incident, because I was in the shower during :

3 A. You are talking about -- 3 the incident.

4 Q. The drilling ofthe well that was 4 Q. Can you please elaborate on what

2 taking place March through April? 2 happened during the incident as te what you

6 MR. CLEMENTS: 6 heard and saw up to leaving the DEEPWATER

7 That entire period of time? 7 HORIZON

§ THE WITNESS: 8 A. Well, it was a major explosion,

9 Oh, yeah. 9 followed by, you know, a second explosion. ;
10 EXAMINATION BY MR. MATHEWS: 10 A lot of back draft in the living quarters. ;
11 Q. Can you please elaborate on what 11 ft totally destroyed the living quarters :
12 kinds of problems you encountered. 12 over there on the starboard side where [ was :
13 A, It was several cases of lost 13 taking a shower in my stateroom. And I :
14 returns, and we took a couple of kicks and 14 managed to get debris out of the way and j
15 had stuck pipe. Actually had a side 15 crawled and walked up toward the bridge. :
16 attraction. 16 And also, I seen some injured :
17 Q. Can you please inform me of what a 17° personnel, you know, during the way up E
18 lost return is. 18 there. s
19 A. That is when the formation won't 13 I got to the bridge, the captain,

20 hold the weight of the drilling fluid. The 20 he was up there. The subsea engineer, Chris

21 hydrostatic pressure exerts, 21 Pleasant, he was up there also, you know,

22 Q. How about a kick? Ze looking at the disaster we had. I knew we

23 A. That is when your mud grade is not 23 needed to get away. So Chris, I told him to

24 dense enough to handle the pressure exerted 24 go ahead and disconnect the EDS.

23 by the formation. 25 Also, | went back down to the

3 (Pages 6 to 9}

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1 CAPTAIN NGUYEN: Q. Would it be fair to say you are :
2 Yes. 2 responsible for supervision of required 5
3, EXAMINATION BY MR. WHEATLEY: 3 inspections and certifications and things :
4 Q. Would you please state and spell 4 related to that for the DEEPWATER HORIZON? ;
5 your name. 5 A. Correct. cE
6 A. Curt Robert Kuchta, K-U-C-H-T-A. 6 Q. Could you basically kind of ;
7 Q. Do you currently have counsel, 7 outline for us what we have seen in the :
8 Captain? 8 organizational chart related to the :
9 A. Ido. 9 DEEPWATER HORIZON, your relationship with F
10 Q. And is it Mr. Kohnke? 10 the OIM? E
11 =A. Yes. 11 A.._ In reference to? (
12 Q. Do you hold any Coast Guard 12 Q. How do you interact with him, what ;
13 licenses or credentials? 13 types of communications do you have, how i
14 A. Master 100 tonnage, USCG. 14 often do you discuss issues of concern?
15 Q. When did you first obtain that 15 A. Whenever one arises. We have
16 certification? 16 extremely open communications. Any time any i
17 A. I want to say -- on the license 17 type of question arises, whether on the i
18 right now, I'm not sure of the exact date. 18 drilling side or marine side, whatever side, i
19 Well, the new one was issued 19 we have very, very good, open ;
20 May 4. I have been in that position for 20 communications. We have worked together ;
21 about two years on the HORIZON. 21 quite a while. i
22 Q. And would you please outline your 22 Q. Do you have regular safety
23 background for us. 23 meetings as such? 4
24 A. I graduated from Massachusetts 24 A. Yes, we have numerous meetings. ;
25 Maritime Academy in 1998. Went to work as a 25 Q. Have you ever seen this chart ;
Page 151 Page 153}
1 third mate for Reading & Bates on board the 1 before? i
2 PATHFINDER. Stayed on board as third mate 2 A. Yes. ;
3 until I went to another ship in 2008. I 3 Q. Are you familiar with it?
4 went to help build two new projects, and 4 A. Yes. }
5 then came back to be master in 2008 on the 5 Q. Is it fair to say this is the
6 DEEPWATER HORIZON. 6 organizational chart for the DEEPWATER ;
7 Q. Thank you. Could you outline your 7 HORIZON? i
8 education, please. 8 A. Yes. ‘
9 A. Massachusetts Maritime Academy, 9 Q. It was basically effective on the i
10 bachelor of science in marine 10 date of the incident which we are i
11 transportation. 11 discussing, April 20? I
12 Q. What is your current title? 12 A. Yes. :
1.3 A. Master. 13 Q. You can see here it identifies the i
14 Q. When did you first assume that 14 OIM as the person in charge, and it places i
15 role? 15 youin the top line on the left. We have :
16 A. June of 2008. 16 had anumber of questions, if you will, ;
Le Q. As the master of the DEEPWATER 17 about who is in charge and at what point and :
18 HORIZON, could you outline for us the scope 18 when that role changes, how do you know?
19 of your duties and responsibilities? 9 Basically, when the vessel is
20 A. Sure. Safety of the vessel, 20 under way, making way, you as the master
21 navigation of the vessel while under way and 21 would be in charge of the vessel. Is that
22  station-keeping. I supervise the 22 true?
23  station-keeping as well as all the 23 A. Correct.
24 regulatory on the vessel side of it. Class, 24 Q. At what point, based upon your
25 Safety, t that type of thing, 25 understanding of this organizational ¢ chart,
39 (Pages 150 &% 153)
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USCG/MMS Marin:

on

Page 154 Page 156,
1 does the OIM assume the role of being in 1 DEEPWATER HORIZON? :
2 charge of the entire rig? 2 A. That is a very broad question. In A
3 A. When we latch up. 3 reference to what aspect of it? :
4 Q. That's your understanding of the 4 Q. Ifyou will, kind of the i
5 distinction between the two positions? 5 10,000-foot view level. How about what the S
6 A. Yes, sir. 6 SMS is and how it applies to the DEEPWATER j
7 Q. Intimes of emergency, we heard 7 HORIZON. 3
8 testimony of the OIM, basically the master 8 A. I'msorry. It is such a broad :
9 assumes the role of being in charge, 9 question. A
10 correct? 10 Q. On board the DEEPWATER HORIZON, 5
11 ~~ A. Correct. 11. did you have an SMS? ;
12 Q. Howdo you know when that transfer 12 ~~ A. «Yes. i
13 ofrole takes place? i Q. Do you know who approved that i
14 A. There is always extremely good 14 plan? ;
15 communication, so it has never been an LS A. Yes. i
16 issue. J mean, there has never been an 16 Q. Who was that? i
17 issue where it has come up. 17 =A. DNV. ;
18 Q. On the 20th of April, when the 18 Q. Do you know if it complied with ;
19 incident occurred, did you have a formal 19 IMO standards? ‘
20 handoff of responsibility between yourself 20 A. Yes. i
21 and the OIM? 21 Q. Who on the rig is designated as :
22 A. In that short time frame, no. 22 the safety management officer, or the safety f
23 However, we were both on the bridge 23 officer? !
24 communicating about what was happening. 24 A. It has been a long five weeks. At
25 Q. Now, being a mariner, obviously 25 this point in time, I don't recall. Those j
Page 155 Page 157 ;
1 you are familiar with the term “underway, 1 types of questions, a few weeks ago would i
2 not making way"? 2 have been no problem. But as you can ;
3 A. Yes, sir. 3 imagine, it has been a rather difficult few i
4 Q. When the vessel is latched up to 4 weeks. i
5 the BOP, is the vessel under way, not making 5 Q. L understand, sir. ;
6 way? 6 Could you tell us how your company 3
7 A. That would go back to the 7 documented their compliance with the Safety :
8 corporation. 8 Management System? i
9 Q. Based on your understanding of the 9 A. I'm sorry, I don't understand.
10 COLREGS, when you are under way, is the O[M 10 Q. Well, there are certain
11 or you in charge? 11 requirements --
12 A. I go back to -- once you are on 12 A. We go through the inspection every
13 location, latched up, the dynamic 13 two and a half years as required.
14 positioning system has it under control. 14 Q. Do you have annual inspections?
15 Q. When you are latched up, you are is A. Yes, through ABS, class.
16. still under way? 16 Q. Is that part of your safety
17 A. Lwould say, that, 17 requirements as well?
18 Q. So would it be your opinion that 18 A. Yes.
19 COLREGS no long apply at that point? 19 Q. Do you know where those are
20 A. No, they still apply. But that is 20 documented on the DEEPWATER HORIZON, the
21 for actual definition. Like I said, it has 21. fact they have been completed?
22 never been a problem being latched up 22 A. They are ina binder in my office,
23 conducting drilling operations. 23 every signed copy.
24 Q. Could you basically outline for us 24 Q. Do you know if you have ternal
25 the scope of the SMS plan on board the 25 audits to ensure your compliance --

Wie

40 (Pages 154 to 157)

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on

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1 but I don't recall. 1 We did have a riser and BOP down.
2 Q. One final question. Was the 2 EXAMINATION BY MR. GORDON:
3 DEEPWATER HORIZON under a daily rate 3 Q. Do you consider that, sir, to be
4 contract or a yearly contract with BP at the 4 anchored to the ground? 5
5 time of the incident? 5 You are the captain of the vessel,
6 A. I don't recall. 6 sir? i
7 MR. GODFREY: ag MR. KOHNKE: 4
8 Thank you. I have no further 8 Here is the problem. Mr. Gordon, ;
9 questions. 9 this witness has raised his right hand and j
10 MR. GORDON: 10 taken an oath and been told that a false )
11 Captain, would it be okay ifI 11 statement is punishable by both jail and a :
12 asked questions too? 12 fine. 5
13 EXAMINATION BY MR. GORDON: - 13 You are asking him now to
14 Q. I want to talk to you about 14 interpret something. There is no black or ;
15 COLREGS. Are you familiar with them? 15 white, there is no absolute here. | am L
16 A. Obviously, a week ago, I was much 16 very, very reluctant to allow him to
17 more familiar with them, but yes. 17 interpret something in an argument with
18 Q. The DEEPWATER HORIZON, was she a 18 counsel. So proceed very carefully, please. ;
19° vessel? 19 EXAMINATION BY MR. GORDON: i
20 A. Yes. 20 Q. Have you had a chance to read it, L
21 Q. Were you the master of that 21. sir? :
22 vessel? 22 A. [fl am going to be asked about
23 A. Yes. 23 it, I would like to keep it in front of me.
24 Q. Was she operating in U.S. waters? 24 Q. I would like to introduce this as ’
25 A. International waters. 25 an exhibit. |
Page 207 Page 209}}
3
1 Q. Was she subject to the IMO regs? 1 I only have the one -- do you have }
2 A. Yes. 2  acopy of this? ;
3 Q. Was Rule 3 of the IMO regs 3 CAPTAIN NGUYEN: }
4 applicable to your vessel, sir? 4 You brought the document. :
5 A. In what section of the IMO regs? 5 Can I ask you the relevance of
6 Q. Rule 3. What is highlighted with 6 your questioning before you introduce ;
7 an asterisk. 7 something in the record? i
8 A. The word "under way." 8 MR. GORDON: :
9 Q. Okay. So it defines under way, 9 I have here Marine Notice 7-038-2, ;
10 correct? 10 the Marshall Islands document, which is -- a
14 A. Correct. 11 this DEEPWATER HORIZON was flagged to the k
12 Q. Could you please read that into 12 Marshall Islands. In it, under the “Minimum (
13. the record? 13 Safe Manning," it has something called “On j
14 A. "The word.'under way' means that a 14 location." ;
15 vesselis not at anchor or made fast to 15 The COLREGS do not have that 2
16.shore.or. ground." 16 definition, so I would like to ask the ;
bet Q. Okay. Just prior to the 17 captain if he considered his vessel :
18 explosion, was the DEEPWATER HORIZON fixed 18 unoperating (sic) when they had the BOP f
19 to the ground or anchored? 19 down. Operating under the Schedule A of :
20 MR. KOHNKE: 20 2.2.5, or if he considered himself subject
21 When you say "fixed," do you mean 21 tothe COLREGS.
22 made fast to the ground? 22 The reason, if you are on location
23 MR. GORDON: 23 inthe Marshall Islands, you don't need a
24 Yes. 24 master, you just need an OIM. Sol am
295 THE WITNESS: | 25 trying to fi igure out under what rules they _
OE ts!

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53 (Pages 206 to 209)
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1 THE WITNESS: j
2 Yes, sir. i
3 CAPTAIN NGUYEN: :
4 Thank you, you are dismissed. We :
5 are adjourned for the morning, please come 4
6 back at 1:30. ,
7 (Recess for lunch.) :
8 5
8 3
10 :
11 j
3
13 :
14 :
15 i
16 i
17 :
18 ;
19 :
20 5
21 :
22 é
23 :
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25 i
Page 215 :
1 :
2 REPORTER'S CERTIFICATE i
3 :
4 I, Cathy Renee’ Powell, Certified ;
5 Court Reporter, do hereby certify that the 3
6 foregoing proceedings were reported by me in :
7 shorthand and transcribed under my personal :
8 direction and supervision, and is a true and :
9 correct transcript, to the best of my :
10 ability and understanding; :
11 That I am not of counsel, not related :
12 to counsel or parties hereto, and not in any :
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